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  17                         UNITED STATES DISTRICT COURT
  18                      SOUTHERN DISTRICT OF CALIFORNIA
  19 DARRYL DUNSMORE, ANDREE                           Case No. 3:20-cv-00406-AJB-DDL
     ANDRADE, ERNEST ARCHULETA,
  20 JAMES CLARK, ANTHONY EDWARDS,                     NOTICE OF MOTION AND
     REANNA LEVY, JOSUE LOPEZ,                         JOINT MOTION FOR
  21 CHRISTOPHER NORWOOD, JESSE                        PRELIMINARY APPROVAL OF
     OLIVARES, GUSTAVO SEPULVEDA,                      SETTLEMENT AGREEMENT
  22 MICHAEL TAYLOR, and LAURA                         RE: THIRD CLAIM FOR
     ZOERNER, on behalf of themselves and all          RELIEF AND PLAINTIFFS’
  23 others similarly situated,                        MOTION FOR APPROVAL OF
                    Plaintiffs,                        DISTRIBUTION METHOD FOR
  24                                                   CLASS NOTICE
                 v.
  25 SAN DIEGO COUNTY SHERIFF’S                        Judge:       Hon. Anthony J. Battaglia
     DEPARTMENT, COUNTY OF SAN
  26 DIEGO, SAN DIEGO COUNTY
     PROBATION DEPARTMENT, and DOES                    Date: March 6, 2025
  27 1 to 20, inclusive,                               Time: 2:00 p.m.
                    Defendants.                        Crtrm.: 4A
  28
     [4630707.1]                          1                       Case No. 3:20-cv-00406-AJB-DDL
        NOTICE OF MOTION AND JT. MOTION FOR PRELIM. APPROVAL OF SETTLEMENT AGRMT. RE: 3D
       CLAIM FOR RELIEF AND PLS.’ MOTION FOR APPROVAL OF DISTRIB. METHOD FOR CLASS NOTICE
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  10 COUNTY SHERIFF’S OFFICE and SAN DIEGO COUNTY PROBATION
     DEPARTMENT
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       [4630707.1]                                2                 Case No. 3:20-cv-00406-AJB-DDL
          NOTICE OF MOTION AND JT. MOTION FOR PRELIM. APPROVAL OF SETTLEMENT AGRMT. RE: 3D
         CLAIM FOR RELIEF AND PLS.’ MOTION FOR APPROVAL OF DISTRIB. METHOD FOR CLASS NOTICE
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   1                               NOTICE OF MOTION AND MOTION
   2 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   3                 PLEASE TAKE NOTICE THAT on March 6, 2025, at 2:00 p.m., in
   4 Courtroom 4A, or as soon thereafter as the matter may be heard, the Parties to this
   5 action will and hereby do move the Court for entry of an Order: (1) granting prelim-
   6 inary approval of the proposed class settlement agreement resolving Plaintiffs’ Third
   7 Claim for Relief (the “Settlement Agreement”) submitted herewith as Exhibit A to
   8 the Declaration of Gay Crosthwait Grunfeld in support of this Motion; (2) approving
   9 the form of notice of the Settlement Agreement to the Subclass Members; and
  10 (3) scheduling deadlines for objections and a fairness hearing regarding final
  11 approval of the Settlement Agreement. These issues are subject to Joint Motion by
  12 Plaintiffs and Defendants.
  13                 Plaintiffs and the Certified Subclass additionally move the Court for entry of
  14 an Order approving the manner of distribution of the approved form of notice of the
  15 Settlement Agreement to the Subclass Members. The manner of providing notice is
  16 disputed by the parties.
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       [4630707.1]                                1                 Case No. 3:20-cv-00406-AJB-DDL
          NOTICE OF MOTION AND JT. MOTION FOR PRELIM. APPROVAL OF SETTLEMENT AGRMT. RE: 3D
         CLAIM FOR RELIEF AND PLS.’ MOTION FOR APPROVAL OF DISTRIB. METHOD FOR CLASS NOTICE
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   1                 The Motion is based upon this Notice of Motion and Motion; the
   2 accompanying Memorandum of Points and Authorities; the attached Declaration of
   3 Gay Crosthwait Grunfeld and the exhibits attached thereto; all pleadings and papers
   4 on file in this action; and any oral argument this Court permits.
   5                                             Respectfully submitted,
   6 DATED: January 10, 2025                     ROSEN BIEN GALVAN & GRUNFELD LLP
   7
                                                 By: /s/ Gay Crosthwait Grunfeld
   8                                                 Gay Crosthwait Grunfeld
   9
                                                 Attorneys for Plaintiffs and the Certified Class
  10                                             and Subclasses
  11
       DATED: January 10, 2025                   BURKE, WILLIAMS & SORENSEN, LLP
  12
  13                                             By: /s/ Elizabeth M. Pappy
                                                     Elizabeth M. Pappy
  14
  15                                             Attorneys for Defendants

  16
  17                                  SIGNATURE CERTIFICATION
  18                 Pursuant to the Court’s Electronic Case Filings Procedures Manual
  19 Section 2(f)(4), I certify that I have obtained consent of all signatories to the
  20 electronic filing of the foregoing document.
  21
  22 DATED: January 10, 2025                     ROSEN BIEN GALVAN & GRUNFELD LLP
  23
                                                 By: /s/ Gay Crosthwait Grunfeld
  24                                                 Gay Crosthwait Grunfeld
  25
                                                 Attorneys for Plaintiffs and the Certified Class
  26                                             and Subclasses
  27
  28
       [4630707.1]                                2                 Case No. 3:20-cv-00406-AJB-DDL
          NOTICE OF MOTION AND JT. MOTION FOR PRELIM. APPROVAL OF SETTLEMENT AGRMT. RE: 3D
         CLAIM FOR RELIEF AND PLS.’ MOTION FOR APPROVAL OF DISTRIB. METHOD FOR CLASS NOTICE
